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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

UNIVERSITY HOSPITALS HEALTH                  )   CASE NO. 1:09-cv-01192
SYSTEM, INC., et al.                         )
                                             )   JUDGE BOYKO
             Plaintiffs,                     )
                                             )   APPENDIX TO PLAINTIFFS’
       v.                                    )   MOTION FOR SUMMARY
                                             )   JUDGMENT
BUILDING & CONSTRUCTION                      )
LABORERS LOCAL UNION NO. 310                 )
                                             )
             Defendant.                      )

 EXHIBIT                     DESCRIPTION                               BATES RANGE
1            Demand for Arbitration                               R000001-R000002
2            Answering Statement and Motion to Dismiss            R000003-R000025
3            Respondent’s Arbitration Brief                       R000026-R000080
4            Claimant’s Brief in Opposition to Motion to          R000081-R000224
             Dismiss
5            4/21/09 Arbitration Transcript and Joint Exhibit 1   R000225-R000380
6            Arbitration Transcript 6/9/09 with exhibits          R000381-R000758
7            Arbitration Transcript 7/2/09 with exhibits          R000759-R000955
8            Opinion and Award 5/5/09                             R000956-R000962
9            Opinion and Award 8/31/09                            R000963-R000981
10           Respondent’s Arbitration Brief 8/14/09               R000982-R001411
11           Post-Arbitration Brief of Claimant                   R001412-R001434
12           January 9, 2008 Letter regarding the PLA             R001435-R001437


                                           Respectfully submitted,

                                           /s/ David A. Campbell
                                           David A. Campbell (0066494)
                                           Charles F. Billington III (0083143)
                                           Vorys, Sater, Seymour and Pease LLP
                                           2100 One Cleveland Center
                                           1375 East Ninth Street
                                           Cleveland, Ohio 44114-1724
                                           Phone (216) 479-6100
                                           Fax: (216) 479-6060
                                           dacampbell@vorys.com
                                           cfbillington@vorys.com

                                           Attorneys for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was sent via the Court’s electronic filing

system to all parties of record with the Court on the date of filing. Notice of this filing will be

served to all parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s system.

                                                     /s/ David A. Campbell
                                                     David A. Campbell (0066494)
                                                     Vorys, Sater, Seymour and Pease LLP
                                                     2100 One Cleveland Center
                                                     1375 East Ninth Street
                                                     Cleveland, Ohio 44114-1724
                                                     Phone (216) 479-6100
                                                     Fax: (216) 479-6060
                                                     dacampbell@vorys.com

                                                     One of the Attorneys for Plaintiffs




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